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                                                                   July 16, 2018

Honorable Mitchell S. Goldberg
United States District Court for the
  Eastern District of Pennsylvania
James A. Byrne U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

                        Re:       Sherman v. Cigna Corp., et al.
                                  Civil Action No. 2:18-cv-02867

Dear Judge Goldberg:

                I write on behalf of Defendant Aria Health in accordance with the Court’s Rule
12(b) Procedural Order [ECF No. 3] to request a pre-motion conference. Aria Health anticipates
filing a motion to dismiss Plaintiff Michelle Sherman’s claims against it under Federal Rule of
Civil Procedure 12(b)(6) for two reasons: (1) they are plainly preempted by ERISA; and (2) there
are no factual averments that would support such claims against Aria Health.

                                                        Factual Background1

                Ms. Sherman is a former lab technician at Aria Health who stopped working due
to cervicalgia, lumbago, and shoulder pain. Compl. ¶ 9. During her employment, she alleges
that Aria Health funded a group long-term disability policy (“the Policy”) provided through Co-
Defendant Cigna Corporation (“Cigna”). Id. ¶¶ 7-9. Due to her health conditions, Ms. Sherman
filed a claim under the Policy, which Cigna initially approved. Id. ¶¶ 11-12.

              In or about 2016, Cigna terminated Ms. Sherman’s disability benefits after
reviewing her medical records. Id. ¶ 14. Ms. Sherman unsuccessfully appealed that decision the

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           For purposes of this letter and any subsequent Motion to Dismiss, Aria Health is prepared to assume, as it
must, the well-pled allegations in the Complaint. If this matter were to proceed further, Aria Health reserves the
right to contest those allegations.



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following year. Id. ¶¶ 15-20. The claims in the Complaint are based on alleged deficiencies in
Cigna’s review of Ms. Sherman’s claim and appeal. Id. ¶¶ 21-28. None of those alleged
deficiencies involves conduct by Aria Health. Count I of the Complaint, under ERISA, is not
directed at Aria Health. Counts II through V, under state law, are directed at all defendants.

                          Proposed Rule 12(b)(6) Motion to Dismiss

               1.     Ms. Sherman’s claims against Aria are preempted by ERISA.

               ERISA’s broad preemption provisions require dismissal of Ms. Sherman’s state
law claims. Ms. Sherman does not appear to contest that the Policy is subject to ERISA—
indeed, she asserts an ERISA claim against Cigna concerning its alleged administration of the
Policy. When a benefit plan is subject to ERISA, courts routinely apply ERISA’s preemption
provisions to dismiss state law claims like those alleged here.

               Congress intended ERISA to create a uniform federal system for the
administration of benefit plans and, in furtherance of that goal, provided ERISA with what our
Supreme Court has called an “extraordinary pre-emptive power.” Menkes v. Prudential Ins. Co.
of Am., 762 F.3d 285, 293 (3d Cir. 2014) (quoting Metro. Life Ins. Co. v. Taylor, 481 U.S. 58, 65
(1987)). Two arms of that preemptive power are relevant to Aria Health’s anticipated motion
and require dismissal: express preemption and conflict preemption.

                ERISA Section 514(a) governs express preemption and states that ERISA
“supersede[s] any and all State laws insofar as they may now or hereafter relate to any employee
benefit plan[.]” 29 U.S.C. § 1144(a). Ms. Sherman’s state-law claims “relate to” an employee
benefit plan because they concern the administration of the Policy. For instance, her bad faith
claim under 42 Pa. C.S. § 8371 concerns Cigna’s investigation, administration, and payment of
benefits. Compl. ¶¶ 44-48. Dealing with such claims, our Court of Appeals has “explicitly held
that actions under [S]ection 8371 are preempted by ERISA.” Scheibler v. Highmark Blue Shield,
243 F. App’x 691, 694 (3d Cir. 2007) (citing Barber v. Unum Life Ins. Co. of Am., 383 F.3d 134,
140-41 (3d Cir. 2004)). The remaining state law claims are similarly expressly preempted. See
Ford v. Unum Life Ins. Co. of Am., 351 F. App’x 703, 706 (3d Cir. 2009) (“[N]egligence . . .
would ordinarily fall within the scope of ERISA preemption . . . .”); Menkes, 762 F.3d at 294-95
(dismissing breach of contract claims as preempted); La Fata v. Raytheon Co., 223 F. Supp. 2d
668, 676 (E.D. Pa. 2002) (dismissing fiduciary duty claim as preempted).

               ERISA Section 502(a) gives rise to conflict preemption and requires dismissal of
claims that “duplicate[], supplement[], or supplant[] the ERISA civil enforcement remedy.”
Aetna Health Inc. v. Davila, 542 U.S. 200, 209 (2004); see also 29 U.S.C. § 1144. As just one
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example of the many duplicative or supplemental remedies sought, Ms. Sherman’s claims all
seek punitive damages, but “Congress did not make punitive damages available under ERISA.”
Menkes, 762 F.3d at 296. So, just as our Court of Appeals held in Menkes, Ms. Sherman’s
claims seeking such remedies are conflict preempted and must be dismissed.

               2.      Ms. Sherman’s claims also fail as a matter of law.

               Even if Ms. Sherman’s state-law claims were not plainly preempted, the lack of
allegations involving Aria Health would also require dismissal. It is telling that, in the section of
the Complaint labeled “Operative Facts,” Aria Health is hardly mentioned. In fact, the only
well-pled, Aria Health-specific conduct alleged is: (1) funding the Policy, Compl. ¶ 7, and (2)
employing Ms. Sherman, id. ¶ 9.

                 As one example, Ms. Sherman’s claim of statutory bad faith requires pleading that
Aria Health has acted in bad faith. She attempts to plead this by reciting boilerplate “bad faith”
conduct, none of which is attributable to Aria Health. Id. ¶ 46. For instance, she alleges bad
faith through “failing to conduct a proper investigation prior to terminating Plaintiff’s
benefits[.]” id. ¶ 46(a). However, the Complaint alleges that Cigna carried out the investigation
and does not allege Aria Health had any duty to investigate. Id. ¶¶ 14-29. The remaining
examples of bad faith are either vague legal conclusions such as that all defendants “[b]reach[ed]
[their] fiduciary relationship and contracts[,]” id. ¶ 46(d), or conduct attributable to Cigna, such
as “[r]efusing without proper foundation to pay said claims[,]” id. ¶ 46(b). This insufficiency
applies to every state-law claim and requires dismissal.

                                            Conclusion

               A straightforward reading of the Complaint shows Ms. Sherman’s claims against
Aria Health are preempted and fail to allege facts sufficient to state a claim. Accordingly, Aria
Health anticipates filing a motion to dismiss pursuant to Rule 12(b)(6) and appreciates the
Court’s consideration of its request for a pre-motion conference.

                                               Respectfully submitted,




                                               Christopher J. Moran
CJM/sdh
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                                  CERTIFICATE OF SERVICE

                 I, Christopher J. Moran, hereby certify that on July 16, 2018, I caused a true and

correct copy of the foregoing letter requesting a pre-motion conference to be filed electronically

where it is available for viewing and download or to be sent by U.S. Mail, as indicated below, to

the following:

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                         Attorneys for Defendants Cigna Corporation and
                         Life Insurance Policy of North America (via ECF)

                                                    Respectfully submitted,


Dated:           July 16, 2018                       /s/ Christopher J. Moran
                                                     Christopher J. Moran (PA I.D. No. 68142)
